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                                          UNITED STATES DISTRICT COURT
                              for the                   District of                          New Jersey

                 United States of America
                                                                                 ORDER SETTING CONDITIONS
                                     V.                                                 OF RELEASE
                        Steven B. Mell
                                                                                           Case Number: 18-7094
                          Defendant

   IT IS ORDERED on this _1.2._ day of June, 2018 that the release of the defendant is subject to the following conditions:
       (1) The defendant must not violate any federal, state or local law while on release.
       (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
           42 U.S.C. § 14135a.
       (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before
           any change in address and/or telephone number.
       (4) The defendant must appear in court as required and must surrender to serve any sentence imposed.

                                                            Release on Bond

Bail be fixed at$   I,,,000   (
                                  QOQ ·
                                          00
                                               and the defendant shall be released upon:

      ( ) .,,,Executing an unsecured appearance bond ( ) with co-signor(s) _ _ _ _ _ _ _ _~ - - - - -
      ( -1'  Executing a secured appearance bond ( ) with co-signor( s)       owll'J./ Di             (., {I    , and ( )
             depositing in cash in the registry of the Court _ _% of th bail 1xed; and/or ( execute an agreement to
             forfeit designated property located at X~ )MLl1h CID("" 11·"1<"=                       . Local Criminal Rule
             46.l(d)(3) waived/not waived by the Codrt.
      ( ) Executing an appearance bond with approved sureties, or the deposit of cash in the full amount of the bail in lieu
             thereof;

                                                   Additional Conditions of Release

Upon finding that release by the above methods will not by themselves reasonably assure the appearance of the defendant and the
safety of other persons and the community, it is further ordered that the release of the defendant is subject to the condition(s)
listed below:

IT IS FUR~T~ERED that, in addition to the above, the following conditions are imposed:
      ( 0R~;o~~o Pretrial Services ("PTS") as directed and advise them immediately of any contact with law enforcement
            personnel, including but not limited to, any arrest, questioning or traffic stop.
      ( ) The defe dant shall not attempt to influence, intimidate, or injure any juror or judicial officer; not tamper with any
              · ess, victim, or informant; not retaliate against any witness, victim or informant in this case.
      (   · The defendant shall be released into the third party custody of      :t) fr:\:'.\P~/LA:
              who agrees (a) to supervise the defendant in accordance with all the conditions of release, (b) to use every effort
              to assure the appearance of the defendant at all scheduled court proceedings, and (c) to notify the court
              immediately in the event the defendant violates any conditions of release or disappears.




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( ~ e defendant's travel is restricted to ( ~ersey ( )j)ther - - - - - - - - - - - - - - - - - -
    -~                                                             0 unless approved by Pretrial Services (PTS).
( ~ Surrender all passports and travel documents to PTS. Do not apply for new travel documents.
( ) Substance abuse testing and/or treatment as directed by PTS. Refrain from obstructing or tampering with substance
       _y.mrse testing procedures/equipment.
( ,y' Refrain from possessing a firearm, destructive device, or other dangerous weapons. All firearms in any home in
     ~ich the defendant resides shall be removed by 2Lf              hie;     and verification provided to PTS. )v,.,.""''-'-" p:..._~
( /) Mental health testing/treatment as directed by PTS.                                                         .rt) u.:"'0r-r~"'-ro'-<vJ
( ) _,%stain from the use of alcohol.                                                                          :C-'t> I f-4'"1,.A•fs.
( /) Maintain current residence or a residence approved by PTS.
( ) _.,,Mruntain or actively seek employment and/or commence an education program.
( "1'yo contact with ajnors unles~ in 1lie presence of a parent or guardian who is aware of the present offense.
( ,f",,IBlVe no contacti1tfffile"fo~1oti~g individuals: "                  ~                       · ·       w, YI csw.s ·"" ~··-':,~-11,;
( ~ Defendant is to participate in one of the f9.11owin home confinement program components and abide by all th1"'
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                                                                                                                                        s,r .,
         requirements of the program which (,1will or ( ) will not include electronic monitoring or other location
         verification system. You shall pay all or part of the cost of the program based upon your ability to pay as
         determined by the pretrial services office or supervising officer.
          ( ) (i) Curfew. You are restricted to your residence every day ( ) from                   to          , or ( ) as
                      directed by the pretrial services office or supervising officer; or
          ( ) (ii) Home Detention. You are restricted to your residence at all times except for the following:
                      education; religious services; medical, substance abuse, or mental health treatment; attorney
                      visits; court appearances; court-ordered obligations; or other activities pre-approved by the
                        retrial services office or supervising officer. Additionally, employment ( ) is permitted ( )
                       s not permitted.
          (           Home Incarceration. You are restricted to your residence under 24 hour lock-down except
                      for medical necessities and court appearances, or other activities specifically approved by the
     __,,_-/'         court.
  ( /) Defendant is subject to the following computer/internet restrictions which may include manual inspection
          and/or the installation of computer monitoring software, as deemed appropriate by Pretrial Services. The
          defendant shall pay all or part of the cost of the monitoring software based upon their ability to pay, as
          dete~d by the pretrial services office or supervising officer.
          ( --f (i) No Computers - defendant is prohibited from possession and/or use of computers or
                 connected devices.
          ( ) (ii) Computer - No Internet Access: defendant is permitted use of computers or connected
                 devices, but is not permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant
                 Messaging, etc);
          ( ) (iii) Computer With Internet Access: defendant is permitted use of computers or connected devices, and
                      is permitted access to the Internet (World Wide Web, FTP Sites, IRC Servers, Instant Messaging,
                           .) for legitimate and necessary purposes pre-approved by Pretrial
                          rvices at [ ] home [ ] for employment purposes.
          (               nsent of Other Residents -by consent of other residents in the home, any computers in the home
                      utilized by other residents shall be approved by Pretrial Services, password protected by a third
                      party custodian approved by Pretrial Services, and subject to inspection for compliance by Pretrial
                       Services.

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                                     ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT:

YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:
                         Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court
and could result in imprisonment, a fine, or both.
            While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than
ten years and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This
sentence will be consecutive (i.e., in addition to) to any other sentence you receive.
            It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate
or attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.
            If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
                 (1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more-you
                       will be fined not more than $250,000 or imprisoned for not more than 10 years, or both;
                 (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will
                       be fined not more than $250,000 or imprisoned for not more than five years, or both;
                 (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
                 (4) a misdemeanor- you will be fined not more than $100,000 or imprisoned not more than one year, or both.
                 A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you
receive. In addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                               Acknowledgment of the Defendant

               I acknowledge that I am the defendant in this case and that                  e conditions of release. I promise to obey
all conditions of release, to appear as directed, and surrender to serve ny sentence im.p)) p sed. I am aware of the penalties and
sanctions set forth above.                                                 . .. ..... ... /


                                                                                Defendant's Signature


                                                                                    City and State
           /                            Directions to the United States Marshal

   (~he defendant is ORDERED released after processing.
   ( ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or
       judge that the defendant has posted bond and/or complied with all other conditions for release. If still in
       custody, the defendant must be produced before the appropriate judge at the time and place specified.
                                                               ·-···~---~·.-·-~·           "


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                                                     .

  Date:         6/19/18
                                                               -•     .~Y:.dicial Ojfzser's Signature

                                                                               Cathy L. Waldor
                                                                              Printed name and title

  (REV. 4/09)                                                                                                             PAGE3 OF3
